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UNITED STATES DIsTRICT COURT

TELEPHONE
CHAMBERS OF DISTRICT OF HAWAI (808) 541-3502
HELEN GILLMOR. 300 ALA MOANA BOULEVARD, C-400 FACSIMILE
SR. UNITED STATES DISTRICT JUDGE HONOLULU, HAWAI 96850-0400 (808) 541-3579

September 23, 2020
In RE: Nash v. Ige, et al., 20-cv-00398 HG-WRP
Dear Mr. Seitz,

With regard to your letter of September 22, 2020, requesting
my recusal, I have filed a recusal that states my reason for
recusal.

It is true that in the past we have had respectful
differences of opinion regarding legal issues in matters before
the Court. These differences do not arise out of or reflect any
bias or prejudice directed toward you.

A sitting judge must daily choose between competing legal
theories on matters of procedure, evidence, or substantive law.
That is the nature of the judicial process. Please be assured
that any past or future rulings have been and will continue to be
grounded in my analysis of the legal questions before me and not
on any bias or prejudice toward you.

Going forward I expect your continued representation in any
cases which are assigned to me.

Very Truly Yours,

TES Obey,
ah gen Fleny,

 

 

 
